                    IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION
                       DOCKET NO.: 3:06-CR-151-FDW-DCK


UNITED STATES OF AMERICA,                 )
          Plaintiff,                      )
v.                                        )
                                          )                            ORDER
MICHAEL ATTILIO MANGARELLA,               )
            Defendant.                    )
__________________________________________)

       THIS MATTER IS BEFORE THE COURT on the “Motion To Seal Forensic Evaluation”

(Document No. 451) filed by the Defendant on July 8, 2009. For good cause, the Court will grant

the motion. The forensic evaluation report (Document No. 452) shall remain sealed.

       SO ORDERED.


                                              Signed: July 13, 2009




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